
394 So.2d 612 (1980)
Dinna Bannister MILES, Individually and as Natural Administratrix of the Estate of the Minor Donny Miles &amp; Sherry Miles Crocklen
v.
ILLINOIS CENTRAL GULF RAILROAD CO., Kansas City Southern Railway Co., Inc., Southern Railroad Co., Magor Railcar, Division of Fruehauf Cor., Citadel Cement Cor., Cecil Brown, and ABC, DEF, GHI, &amp; XYZ Insurance Companies.
No. 80-C-2437.
Supreme Court of Louisiana.
November 21, 1980.
Denied.
CALOGERO and LEMMON, JJ., would grant the writ.
